          Case 1:18-cv-00833-RC Document 23 Filed 11/03/18 Page 1 of 3



                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

                                                   )
Electronic Privacy Information Center,             )
                                                   )
                        Plaintiff,                 )
                                                   )
               v.                                  )         Civ. Action No. 18-833 (RC)
                                                   )
Drone Advisory Committee et al.,                   )
                                                   )
                        Defendants.                )
                                                   )

                                      Defendants’ Response to
                    Plaintiff’s Notice of Supplemental Authority (ECF No. 22)

       Defendants respectfully respond to Plaintiff’s Notice of Supplemental Authority, ECF

No. 22 (Oct. 16, 2018) (“Plaintiff’s Notice”). Contrary to the argument set forth in Plaintiff’s

Notice, the FAA Reauthorization Act of 2018, Pub. L. No. 115–254, 132 Stat. 3,186 (2018) (the

“Act”), which was signed into law on October 5, 2018, has no bearing on either the complaint

(ECF No. 1) or the pending motion to dismiss (ECF No. 16).1

       Plaintiff’s Notice brings to the Court’s attention § 360 of the FAA Reauthorization Act,

132 Stat. at 3,307. Section 360 requires the U.S. Comptroller General to “initiate a study on

appropriate fee mechanisms to recover” certain governmental costs related to unmanned aircraft
systems (“UAS”—popularly known as “drones”). Act § 360, 132 Stat. at 3,307. The Act lists

“any recommendations of Task Group 3 of the Drone Advisory Committee chartered by the

Federal Aviation Administration on August 31, 2016,” id. § 360(b)(1), as one of nine enumerated

“considerations” that “[i]n carrying out the study, the Comptroller General shall consider, at a

minimum….” Id. § 360(b). Plaintiff argues that because the Act requires the Comptroller General

to consider “any recommendations of Task Group 3 of the Drone Advisory Committee,” it must

be true that Task Group 3, a subgroup of the Drone Advisory Committee (“DAC”), makes

1
 See Defs.’ Mem. in Support of Mot. to Dismiss, ECF No. 16-1 (July 3, 2018); Pl.’s Opp. to
Defs.’ Mot. to Dismiss, ECF No. 18 (July 17, 2018); Defs.’ Reply, ECF No. 20 (July 27, 2018).
          Case 1:18-cv-00833-RC Document 23 Filed 11/03/18 Page 2 of 3




recommendations directly to a federal agency, bypassing deliberation by the DAC, and is

therefore an advisory committee in its own right, subject to the Federal Advisory Committee Act.

       However, plaintiff’s own complaint alleges that “any recommendations of Task Group 3

of the DAC”—what FAA Reauthorization Act § 360 tells the Comptroller General to consider—

were in fact approved and adopted by the DAC, following deliberation by the DAC at public

DAC meetings.2 That is consistent with the DAC structure and operation as a parent advisory

committee to which subgroups, including Task Group 3, reported. See Defs.’ Mem. 6–11. Task

Group 3 worked under the DAC, and did not on its own issue recommendations directly to any

federal agency. Thus, there is no basis for Plaintiff’s assumption that the phrase “any

recommendations of Task Group 3” in the Act means recommendations made before being

approved by the DAC, or otherwise outside of the DAC structure.

       Moreover, given that the DAC and its subgroups, including Task Group 3, expired before

the Act was enacted last month,3 section 360 of the Act necessarily refers to recommendations
that already exist, not to some future recommendations that Task Group 3 may generate without

first submitting them to the DAC for approval. For that reason, plaintiff misreads the Act when it

says that the Act “gives an FAA Task Group open-ended, prospective authority to influence the

work of the Comptroller General.” Pl.’s Not. 2. To the contrary, all the Act does is instruct the


2
  See, e.g., Compl. ¶ 75 (“Task Group 3… delivered a progress report and recommendations to
the DAC at the July 2017 meeting… Task Group 3 also presented an interim report intended for
the FAA concerning funding mechanisms for the introduction of drones into the NAS.”); id. ¶ 78
(“During the July 2017 meeting, the DAC approved the interim funding report presented by Task
Group 3. The RTCA officially delivered the Task Group 3 report to then-Deputy Administrator
Elwell on September 11, 2017.”); Compl. Ex. 6 at 2 (diagram depicting DAC committee
structure and work flow); Id. at 3 (“No recommendations … flow[ed] directly” from the Task
Groups to the federal officials); Id. (any Task Group “recommendations” for the FAA were
“vetted in a public DAC meeting” and only “transmitted to the FAA upon approval by the
DAC.”); Compl. Ex. 17 (cover letter describing interim funding report prepared by Task Group 3
as “the interim recommendations from the July 21st meeting of the DAC,” and noting that the
“attached interim report (including the recommendations) was approved during the [DAC]
meeting”); See also DAC meeting minutes, presentations, and reports, available at
https://www.rtca.org/content/ meeting-archives-dac.
3
 The DAC chartered by the FAA on August 31, 2016 was terminated on May 29, 2018. See
Defs.’ Mem. 11.



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           Case 1:18-cv-00833-RC Document 23 Filed 11/03/18 Page 3 of 3




Comptroller General4 to consider past recommendations of Task Group 3 that—as demonstrated

above and in defendants’ briefing—were discussed, approved, adopted, and officially issued by

the DAC.

                                            Respectfully submitted,

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                                            /s/ Lisa Zeidner Marcus                     .
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4
 Defendants note that the Comptroller General serves as director of the Government
Accountability Office (“GAO”), which “is generally recognized as a part of the legislative
branch,” and thus exempted from the definition of “agency” under 5 U.S.C. § 551(1)(A), see
Chen v. Gen. Accounting Office, 821 F.2d 732, 737 (D.C. Cir. 1987), and also under the Federal
Advisory Committee Act (“FACA”), see 5 U.S.C. app. 2 § 3(3) (“The term ‘agency’ [as used in
FACA] has the same meaning as in section 551(1) of title 5, United States Code.”). Directly
advising the Comptroller General cannot transform a group into an “advisory committee” under
FACA because the GAO is not an agency under FACA. In any event, as discussed above, Task
Group 3 is not directly advising the Comptroller General.



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